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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

CASE NO.      22-cr-00101-CMA

UNITED STATES OF AMERICA,

              Plaintiff,

v.

ALEXIS NICOLE WILKINS,

              Defendant.


                                 NOTICE OF DISPOSITION


       Defendant, Alexis Wilkins, by and through counsel, Mary V. Butterton, hereby notifies

this Court that a disposition has been reached in his case with the government. The defendant

notes that per E.C.F. No. 31, a Change of Plea Hearing is scheduled for November 15, 2022, at

3:00 p.m.

       Respectfully submitted this 16th day of September, 2022.


                                            VIRGINIA L. GRADY
                                            Federal Public Defender


                                            s/ Mary V. Butterton
                                            MARY V. BUTTERTON
                                            Assistant Federal Public Defender
                                            633 17th Street, Suite 1000
                                            Denver, CO 80202
                                            Telephone: (303) 294-7002
                                            FAX: (303) 294-1192
                                            Mary_Butterton@fd.org
                                            Attorney for Defendant
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                                CERTIFICATE OF SERVICE

I hereby certify that on September 16, 2022, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send notification of such filing to the following e-
mail addresses:

       Peter McNeilly, Assistant United States Attorney
       Email: Peter.McNeilly@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non
CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
name:

       Alexis Nicole Wilkins (via U.S. Mail)



                                              s/ Mary V. Butterton
                                              MARY V. BUTTERTON
                                              Assistant Federal Public Defender
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                                              Denver, CO 80202
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                                              FAX: (303) 294-1192
                                              Mary_Butterton@fd.org
                                              Attorney for Defendant




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